          Case 1:21-cr-00444-JEB Document 33 Filed 11/19/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :       CASE NO. 21-cr-444 (JEB)
                                            :
BRIAN CHRISTOPHER MOCK,                     :
                                            :
                      Defendant.            :


  UNOPPOSED MOTION FOR AN ORDER TO DISCLOSE ITEMS PROTECTED BY
   FEDERAL RULE OF CRIMINAL PROCEDURE 6(e) AND SEALED MATERIALS

       The United States of America respectfully moves for entry by this Court of an order

permitting the disclosure in discovery of materials protected by Federal Rule of Criminal

Procedure 6(e), if applicable to this case. The United States also requests permission to provide

in discovery sealed materials, pursuant to the previously entered protective order governing

discovery. Finally, the United States requests that any order granting this motion be made

applicable to co-defendants who may later be joined.

       The United States conferred with the defendant regarding this motion and he does not

oppose the motion.




                                                1
          Case 1:21-cr-00444-JEB Document 33 Filed 11/19/21 Page 2 of 3




       WHEREFORE, the United States respectfully requests an order authorizing the disclosure

in discovery of the materials described above.



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052


                                             /s/ Amanda Jawad
                                             Amanda Jawad
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                                                 2
          Case 1:21-cr-00444-JEB Document 33 Filed 11/19/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 19, 2021, I served a copy of this pleading on
defendant’s standby counsel through the electronic case file system. I also certify that the U.S.
Attorney’s Office mailed a hard copy of this pleading to the defendant, who is representing himself
pro se.


                                             /s/ Amanda Jawad
                                             AMANDA JAWAD
                                             Assistant United States Attorney, Detailee




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